8:02-cr-00353-BCB-SMB        Doc # 734    Filed: 12/28/10    Page 1 of 1 - Page ID # 4026




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )             CASE NO. 8:02CR353
                                          )
       vs.                                )
                                          )         MEMORANDUM AND ORDER
BARRY RENFOLD COOLEY,                     )
                                          )
                     Defendant.           )

       This matter is before the Court on the Defendant’s motion filed under Federal Rule

of Civil Procedure 60(b)(5) and (6) (Filing No. 733).

       The Defendant, Barry Renfold Cooley, requests reconsideration of his life sentence.

He argues that the Court erred in denying his motions filed under § 2255 and for reduction

of his sentence pursuant to Amendment 706 to the sentencing guidelines. The Eighth

Circuit Court of Appeals affirmed both decisions.

       Cooley may not relitigate his § 2255 motion through Rule 60(b) in what is essentially

a successive motion filed without the Eighth Circuit’s approval. United States v. Patton,

309 F.3d 1093, 1094 (8th Cir. 2002).

       IT IS ORDERED:

       1.     The motion filed under Federal Rule of Civil Procedure 60(b)(5) and (6)

              (Filing No. 733) is denied; and

       2.     The Clerk is directed to mail a copy of this memorandum and order to the

              Defendant at his last known address.

       DATED this 28th day of December, 2010.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge
